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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,

                               Plaintiff/Respondent,

vs.
                                                        ORDER
                                                        Cr. No. 97-276(22) (MJD)

Antoine D. Brown,

                               Defendant/Petitioner.

___________________________________________________________________

       Petitioner is pro se.

__________________________________________________________________

       Petitioner has moved the Court, pursuant to 18 U.S.C. § 3582(c), for

modification of his sentence.

       Despite Petitioner’s attempt to style this motion as one under Section 3582,

it is, in fact, a collateral challenge to his sentence. Petitioner has, however, already

challenged his conviction and sentence pursuant to 28 U.S.C. § 2255. [Doc. No.

1260, Order denying § 2255 Relief as to Antoine Brown]. Accordingly, the Court

must treat the present motion as a successive motion under § 2255.

       With regard to successive motions, the statute provides:

              A second or successive motion must be certified as provided in
       section 2244 by a panel of the appropriate court of appeals to contain –

              1) newly discovered evidence that, if proven and viewed in light of
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             the evidence as a whole, would be sufficient to establish by clear and
             convincing evidence that no reasonable factfinder would have found
             the movant guilty of the offense; or

             2) a new rule of constitutional law, made retroactive to cases on
             collateral review by the Supreme Court, that was previously
             unavailable.

      In this case, Petitioner has not received permission from the Court of

Appeals to file the instant motion. Accordingly, this Court is without jurisdiction

to address this motion.

      IT IS HEREBY ORDERED that the Petition for Relief Pursuant to 18 U.S.C. §

3582 [Doc. No. 1442] is DENIED.

Date: July 28, 2005



                                         s / Michael J. Davis
                                         Michael J. Davis
                                         United States District Court
